      Case 2:13-cr-00021-KS-MTP            Document 274       Filed 05/24/17      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DISTRICT



ROGER RANDELL JONES                                                     PETITIONER


VS.                                                         CRIMINAL NO. 2:13-cr-21-KS-MTP
                                                            CIVIL NO. 2:16-cv-155-KS


UNITED STATES OF AMERICA                                                 RESPONDENT


                                              ORDER


       The Court notes that Petitioner Roger Randell Jones has filed a Petition pursuant to

28 U.S.C. §2255 [267], and in it he alleges ineffective assistance of counsel. Mr. Jones’ attorney

at trial and on appeal of the underlying case was Mr. Wesley Broadhead. The Government was

represented by Ms. Annette Williams.

       The Court orders and directs that within twenty (20) days of the date of this Order that

Mr. Broadhead file, in affidavit form, his response to the allegations of ineffective assistance of

counsel set forth in the Petition. Further, the Court orders and directs that within twenty (20)

days of the filing of Mr. Broadhead’s response to this Order, the Government should file its

response to the Petition [267]. Upon the filing of the affidavit by Mr. Broadhead and the answer

to the Petition by the Government, a copy should be served on Mr. Jones at his address listed on

the ECF.

       SO ORDERED this the          24th    day of May, 2017.


                                                         s/ Keith Starrett____________________
                                                         UNITED STATES DISTRICT JUDGE
